
In re Pearson, John;—Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court Div. F, No. 00-5403; to the Court of Appeal, Fifth Circuit, No. 02-KH-01.
Writ granted; case remanded to the district court. The district court is ordered to grant relator an out-of-time appeal and appoint counsel to prosecute it. See State v. Counterman, 475 So.2d 336, 340 (La.1985) (Out-of-time appeal may be appropriate in cases in which either “the defendant was not substantially notified at sentencing of his right to appeal or those in which the defense attorney was at fault in failing to file or perfect a timely appeal.”) (emphasis added); see also State v. Guillory, 99-0400 (La.7/2/99), 745 So.2d 627.
